       Case 6:12-cr-00012-LGW-CLR Document 106 Filed 08/25/14 Page 1 of 7




                   UNITED STATES DISTRICT COURT

                   SOUTHERN DISTRICT OF GEORGIA

                           STATESBORO DIVISION
MARK DARNELL PORTER,

         Movant,

v.                                                  Case No. CV614-079
                                                             CR612-012
UNITED STATES OF AMERICA,

         Respondent.

                       REPORT AND RECOMMENDATION

      Mark Darnell Porter moves for 28 U.S.C. § 2255 relief (doc. 1031) and

this Court is preliminarily reviewing it under 28 U.S.C. § 2255 Rule 4(b).

When Porter pled guilty to drug charges, he partially waived his direct

and collateral appeal rights. 2 Doc. 77 at 1-2; doc. 79 at 8. He then


1
 The Court is citing only to the criminal docket and using its docketing software's
pagination; it may not always line up with each paper document's printed pagination.
2
    The agreement states that,

     “[t]o the maximum extent permitted by federal law, the defendant voluntarily
     and expressly waives the right to appeal the conviction and sentence and the
     right to collaterally attack the conviction and sentence in any post-conviction
     proceeding, including a § 2255 proceeding, on any ground, except that: the
     defendant may file a direct appeal of the sentence if it exceeds the statutory
     maximum; and the defendant may file a direct appeal of the sentence if, by
     variance or departure, the sentence is higher than the advisory sentencing
     guideline range as found by the sentencing court. The defendant understands
     that this Plea Agreement does not limit the Government's right to appeal, but
     Case 6:12-cr-00012-LGW-CLR Document 106 Filed 08/25/14 Page 2 of 7




appealed his 180-month sentence, contending that the government

breached the plea bargain -- the government agreed to a 151-month cap.

Docs. 85, 98 & 99. From the Eleventh Circuit opinion denying him relief:

   Porter argue[d] that the district court "violated the plea agreement"
   because it imposed a higher sentence than what he expected based
   on his plea negotiations with the government. Not so. The plea
   agreement specifically acknowledged two facts that made it legally
   impossible for the district court's upward variance to breach the
   plea agreement: (1) "the Court is not a party to this agreement,"
   and (2) "the Court is free to impose any sentence authorized by law
   up to the statutory maximum sentence." It cannot be error -- let
   alone plain error -- for a district court to exercise its sentencing
   discretion if the defendant's plea agreement does not limit that
   discretion. See United States v. Eldick , 443 F.3d 783, 789 (11th Cir.
   2006). Thus Porter's claim fails.

Doc. 98 at 6-7; Porter, 542 F. App’x 904 at 907.

      Porter insists his attorney provided him with ineffective assistance

of counsel 3 by failing to understand the nature of his plea agreement.


   if the government appeals the sentence imposed, the defendant may also file a
   direct appeal of the sentence.

Doc. 79 at 8 (emphasis added). Porter ignores this double-waiver and pleads none of
the exceptions here. Still, his 180-month sentence did exceed the 121-151 month
sentencing guidelines range, United States v. Porter, 542 F. App’x 904, 906 (11th Cir.
2013), so he was entitled to appeal, see United States v. Holton , 2014 WL 3035555 at *
2 (11th Cir. July 7, 2014), and did.

   For ineffective assistance of counsel to provide a basis for federal habeas relief, a
movant must satisfy the two-part test from Strickland v. Washington , 466 U.S. 668,
687 (1984). First, he must show that his counsel's performance was deficient and that
it prejudiced his defense. Id . To show prejudice, movant need only demonstrate a
reasonable probability that the result of the proceeding would have been different
                                           OJ
     Case 6:12-cr-00012-LGW-CLR Document 106 Filed 08/25/14 Page 3 of 7




Doc. 104 at 4 (counsel told Porter “countless times that he would only

receive ‘151 months.’”); see also id. at 5 (“The prejudice is that bad

advice regarding the plea agreement caused [Porter] to receive 29

months more prison time.”). Because of counsel’s bad advice about the

151-month cap, Porter contends that his plea was not knowing and

voluntary. Id. at 7-8. In his second claim he faults counsel for failing to

object to what he claims to be erroneous and false Presentence

Investigation Report (PSI) information. Id. at 5-6 (citing the same 29

months prejudice factor). Porter thus wants an evidentiary hearing and

ultimately his plea vacated, then replaced with the 151-month sentence

he was promised. Id. at 8-10.

      Porter’s involuntary-plea based claim fails. The district judge

asked him if he understood the plea bargain’s terms, and even pointed

out -- in ensuring that Porter understood his double waiver -- that he

could receive a sentence above the recommended U.S. Sentencing

Guidelines. Doc. 90 at 51. Porter answered in the affirmative.                Id. The


absent the error. Id. at 694. That is “a probability sufficient to undermine confidence
in the outcome.” Id. Porter therefore must establish both deficient performance and
prejudice in order to establish ineffective assistance of counsel. Id . at 687.
“Surmounting Strickland 's high bar is never an easy task.” Padilla v. Kentucky , 559
U.S. 356, 371 (2010).

                                           3
     Case 6:12-cr-00012-LGW-CLR Document 106 Filed 08/25/14 Page 4 of 7




judge also asked him if anyone had promised him anything beyond what

was in the very same plea agreement that the Eleventh Circuit would

later illuminate to reject Porter’s plea-breach claim on appeal (that is,

that the judge retained the option of upwardly departing from the U.S.

Sentencing Guidelines recommended limit). Id. at 50-51. Porter said no.

Id. at 51.

      In none of Porter’s § 2255 filings does he claim that he lied to or

otherwise misled the judge about his understanding of those facts. It

follows that, even if his lawyer gave him deficient advice about the 151-

month cap, he cannot meet the Strickland ineffective-counsel standard

because the district judge set him straight about the risk of a higher

sentence and Porter grasped that fact yet pressed forward with his plea.

Hence, he can show no ineffective assistance on his plea-voluntariness

claim; “buyer’s remorse” just doesn’t cut it here.

      Porter’s claim that counsel should have objected to the PSI also

fails. The sentencing judge expressly asked Porter:

   THE COURT: Was there anything wrong or something you felt like
   should be changed in that report?

   THE DEFENDANT: No, sir.



                                     2
     Case 6:12-cr-00012-LGW-CLR Document 106 Filed 08/25/14 Page 5 of 7




Doc. 97 at 6. And, after the probation officer pointed out that Porter

had sold marijuana over 100 times (again, Porter faults his lawyer for

failing to object to that, doc. 104 at 5-6), doc. 97 at 12-13, the Court

directly invited Porter to refute it:

   THE COURT: Well, Mr. Porter, this is your opportunity to speak to
   the Court, tell the Court what you wish the Court to understand.
   You may comment on all of this matter that we have been
   discussing, or you, of course, have the right to speak through Mr.
   Hamilton. But the law requires that I address you and allow you
   the opportunity to speak.

Id. at 14. Porter then said a lot of things, including this:

   Ever since I've been inside the county jail, I got baptized. I've been
   reading the Bible. I've totally been trying to change my life, and
   honestly, this is the honest-to-God truth, and you can ask anybody
   in the community, I'm not a career drug dealer. I just did that
   because I was behind on loans, and I was trying to build my credit
   up, and I owed a couple of banks; and I was just trying to take care
   of my family. If you'll look at it, you will see the same thing I'm
   telling you right now is the same thing I'm explaining to the Court.
   I'm not trying to sugarcoat nothing and trying to make it like I'm
   innocent here. I'm guilty of the charges.

Id. at 16.

      Significantly, he never rebutted the probation officer’s “100

transaction” assertion. The Court will not permit him to stand mute

about an obvious PSI defect so he can sandbag his lawyer by faulting him

for not objecting to what Porter was expressly invited to address.          Cf.


                                        5
    Case 6:12-cr-00012-LGW-CLR Document 106 Filed 08/25/14 Page 6 of 7




United States v. Peerani , 2014 WL 3953414 at *1 (11th Cir. Aug. 14,

2014) (rejecting defendant’s contention that his guilty plea was not

knowing and voluntary because the plea colloquy failed to ensure that he

understood the nature of the charge against him; “[d]uring his plea

colloquy, Peerani agreed that the elements of the offense were correctly

stated and that the three-page stipulated factual proffer accurately

provided a sufficient factual basis for his plea. Peerani did not object

during his change-of-plea hearing -- or later at sentencing -- that the

basis for the conviction was incorrectly or insufficiently stated. Thus,

Peerani invited any error that he alleges occurred with respect to the

stated elements or the factual basis of the offense. . . . Accordingly, we

are precluded from reviewing his claim.”) (cites omitted). Porter

therefore cannot show the Strickland prejudice needed to support his

IAC claim against counsel.

     Accordingly, Mark Darnell Porter’s § 2255 motion must be

DENIED . Applying the Certificate of Appealability (COA) standards set

forth in Brown v. United States , 2009 WL 307872 at * 1–2 (S.D. Ga. Feb.

9, 2009), the Court discerns no COA-worthy issues at this stage of the

litigation, so no COA should issue. 28 U.S.C. § 2253(c)(1). And, as there


                                    11
    Case 6:12-cr-00012-LGW-CLR Document 106 Filed 08/25/14 Page 7 of 7




are no non-frivolous issues to raise on appeal, an appeal would not be

taken in good faith. Thus, in forma pauperis status on appeal should

likewise be DENIED . 28 U.S.C. § 1915(a)(3).

     SO REPORTED AND RECOMMENDED, this 25th day of

August, 2014.



                                        LrNITEIJ SlATES MAGISTRATE JUDGE
                                        SOUTHERN DISTRICT OF GEORGIA




                                    7
